      CASE 0:09-cv-01279-MJD-AJB Document 44 Filed 02/24/11 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



James A. Bartholomew and Lighthouse
Management Group, Inc., as Receiver for           Court File No. 09-CV-01279 (MJD-AJB)
Lakeland Construction Finance, LLC,

                     Plaintiffs,                       PLAINTIFFS’ MOTION
                                                      TO COMPEL DISCOVERY
       vs.

Avalon Capital Group, Inc.,

                     Defendant.



       Pursuant to Rule 37 of the Federal Rules of Civil Procedure, Plaintiffs James A.

Bartholomew and Lighthouse Management Group, Inc., as Receiver for Lakeland

Construction Finance, LLC hereby move the Court for an order compelling Defendant to

produce unredacted versions of the 1,982 documents identified on its privilege log and

unredacted versions of documents that Avalon redacted for reasons other than privilege .

This motion is brought upon all the files, records, and proceedings in this action, and is

further supported by the Memorandum and Affidavit of LL. Rhyddid Watkins filed with

this motion.



                                   Signature page to follow
        CASE 0:09-cv-01279-MJD-AJB Document 44 Filed 02/24/11 Page 2 of 2




Dated: February 24, 2011                   FAEGRE & BENSON LLP


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